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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.                           CASE NO. 8:12-CR-288-T-17MAP

 KELLY JO TEFFNER.

                                      /


                                            ORDER


           This cause is before the Court on:

           Dkt. 695     Emergency Motion by the United States for
                        Commutation of Defendant’s Sentence Due to
                        Terminal Medical Diagnosis

           The United States moves the Court to commute Defendant Kelly Jo Teffner’s
 sentence to time served due to Defendant’s terminal medical diagnosis and imminent
 death. (Exh. 1).


           Defendant Teffner was sentenced to serve 64 months of incarceration, and has
 served 13 months of Defendant’s sentence. Defendant Teffner was brought back to
 Tampa to testify in the case of United States v. Rasesh Patel, scheduled for the
 September trial term. The Government states that Defendant Teffner has provided
 substantial assistance to the Government.


           Defendant’s counsel, Kevin Beck, joins in this Motion. Upon release from
 custody, Defendant Teffner will be turned over to hospice services, and to Defendant’s
 family.


           After consideration, the Court grants the Emergency Motion for Commutation of
 Defendant Kelly Jo Teffner’s sentence to time served. Accordingly, it is
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         ORDERED that the Emergency Motion by the United States for Commutation of
 Defendant’s Sentence Due to Terminal Medical Diagnosis (Dkt. 695) is granted, and
 Defendant Teffner’s sentence is commuted to time served.

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         DONE and ORDERED in Chambers in Tampa, Florida on thisv ^ ^ dav of July,
 2015.




 Copies to:
 All parties and counsel of record
 U.S. Marshal
 U.S. Probation




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